 Case 5:22-cr-00027-JA-PRL Document 64 Filed 10/04/22 Page 1 of 1 PageID 173
                  IN THE UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             OCALA DIVISION

UNITED STATES OF AMERICA,
     Plaintiff,

v.                                                                          5:22-cr-27-JA-PRL

ROBERT DEWAYNE LASHLEY,
     Defendant.


                              REPORT AND RECOMMENDATION
                               CONCERNING PLEA OF GUILTY

       The defendant, by consent, has appeared before me pursuant to Rule 11, Fed. R. Crim.

P. and Local Rule 1.02, Middle District of Florida, and has entered a plea of guilty to Count

1 of the Superseding Information. After cautioning and examining the defendant under oath

concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea was

knowledgeable and voluntary and that the offense charged is supported by an independent

basis in fact containing each of the essential elements of such offense. I therefore recommend

that the plea agreement and the plea of guilty be accepted and that the defendant be adjudged

guilty and have sentence imposed accordingly. The defendant is in custody of the U.S.

Marshal pending sentencing.

Date: October 4, 2022



Copies furnished to:

Honorable John Antoon II
District Judge Courtroom Deputy
United States Attorney
United States Probation Office
Counsel for Defendant

                                            NOTICE

        Within 14 days after being served with a copy of the recommended disposition, a
party may file written objections to the Report and Recommendation’s factual findings and
legal conclusions. See Fed. R. Civ. P. 72(b)(3); Fed. R. Crim. P. 59(b)(2); 28 U.S.C. §
636(b)(1)(B). A party’s failure to file written objections waives that party’s right to challenge
on appeal any unobjected-to factual finding or legal conclusion the district judge adopts
from the Report and Recommendation. See 11th Cir. R. 3-1.
